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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


                                           :
 DONNA CURLING, et al.,                    :
                                           :
       Plaintiffs,                         :
                                           :
 v.                                        :        CIVIL ACTION NO.
                                           :        1:17-cv-2989-AT
                                           :
 BRAD RAFFENSPERGER, et al.,               :
                                           :
       Defendants.                         :

                                     ORDER

      The Court has received the parties’ courtesy copies of the briefing related to

Plaintiffs’ pending renewed motions for attorney’s fees. Having reviewed these

filings, the Court requests clarification from the Curling Plaintiffs regarding a

number of redactions to their accompanying exhibits.

      Specifically, the Court notes that the Curling Plaintiffs included significant

redactions to portions of their attachments to the declarations of David Cross and

Halsey Knapp, which the Curling Plaintiffs submitted as evidence of their claimed

fees and expenses. (See generally Doc. 631 at 23–441, 458–518); (Doc. 706-1 at

7–91). It is currently not clear to the Court what these redactions represent.

Therefore, the Court requests that the Curling Plaintiffs clarify the basis for their

redactions by no later than Wednesday, August 3, 2022.
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IT IS SO ORDERED this 1st day of August, 2022.


                            ____________________________
                            Honorable Amy Totenberg
                            United States District Judge




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